           Case 1:21-cr-00003-RCL Document 116 Filed 01/24/23 Page 1 of 1


                             UNITED STATES DISTRICT COURT
                                        FOR THE
                                 DISTRICT OF COLUMBIA
U.S.A. vs. CHANSLEY, Jacob Anthony                                             Docket No.: 1 :21CR00003-001



                 The Court may enter a minute order for any of the following options:


WaITant Requests Only - To help ensure the safety of law enforcement officers while a warrant is active, we ask that
you not enter a minute order. Rather, please print and sign this document and, if you concur with the request for a
warrant, provide all pages to your Court Room Deputy Clerk who will enter a sealed minute order and process the
warrant for service without ale11ing the public or the offender. After the waITant is executed, the Deputy Clerk will
unseal the wan-ant unless otherwise directed by the Court.

THE COURT ORDERS:

1. l'.)r" Concurs with the recommendation of the Probation Office to "modify the condition as
noted-below:
You must submit your person, property, house, residence, vehicle, papers, or office to a search
conducted by a probation officer. Failure to submit to a search may be grounds for revocation
of release. You must warn any other occupants that the premises may be subject to searches
pursuant to this condition."

2. D No action

3. D Issuance of a warrant and enter into NCIC and schedule a hearing upon execution

4. D Issuance of a summons and schedule a hearing

5. D Hearing to modify, revoke, or terminate supervised release shall be held before a magistrate
     judge for the preparation of a report and recommendation to the district judge. This
     designation will remain for the duration of the case, and the designated magistrate judge
     will respond to all subsequent requests from the probation office unless otherwise ordered
     by the district judge.

6. D Other




                                            Royce C. Lamberth
                                        United States District Judge
                                                    •h..11-3.
                                                      Date
